Case 1:14-cv-01006-CBK Document 23 Filed 12/21/15 Page 1 of 5 PageID #: 73




                                UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF SOUTH DAKOTA
                                     NORTHERN DIVISION


 LISA GONSALVES, Mother and Personal
 Representative of the Estate of V/akanda O.                         1:14-CV-100ó-CBK
 Gonsalves, deceased; and LEON
 GONSALVES, Father of Wakanda Gonsalves,

                Plaintifß,                                     PETITION F'OR APPROVAL
                                                                   OF SETTLEMENT
 VS.


 PATRICK J. ADAMS, M.D.and MEDICAL
 DOCTOR ASSOCIATES, L.L.C.,

                Defendants.



        WE, LISA GONSALVES, individually and as Personal Representative of the Estate of

 Wakanda O. Gonsalves, and as mother, along with ROBERT LEON GONSALVES, as father, of

 Angelo'Wapi Moreno, Dyami Leon Gonsalves, Kinyanku Reuben Riley Gonsalves, Niya Colleen

 Gonsalves and Wakanhdisa Misun Gonsalves, pursuant to SDCL 21-5-6,petition the Court for

 an order approving a settlement for damages arising out of the death of our daughter, Wakanda

 O. Gonsalves, who died on May 7,2012, subsequent to receiving certain medical care with

 Patrick J, Adams, M.D., for which a claim of medical malpractice was asserted,

        In support of this petition, Lisa Gonsalves states:
  '     1.      I   arrr the Personal Representative   of the Estate of Wakanda O. Gonsalves. A copy

 of the Order Appointing me Personal Representative and Authorizing Autopsy issued by Chief

 Judge B.J. Jones of the Sisseton-Wahpeton Oyate Coufl, Lake Traverse Indian Reservatìon, State

 of South Dakota, is attached hereto and designated as Exhibit l.

        2.      Wakanda O. Gonsalves is the daughter of rnyself and Robert Leon Gonsalves,
Case 1:14-cv-01006-CBK Document 23 Filed 12/21/15 Page 2 of 5 PageID #: 74




 She was bom on                    , and was 19 years old at the time of her passirrg. She was a

 wonderful daughter and a close sister to her siblings.

        3.      Wakanda O. Gonsalves is survived by not only myself and Robert Leon

 Gonsalves, but five siblings. Those five siblings are: Angelo Wapi Moreno, born

 Dyarni Leon Gonsalves, bom                               Kinyanku Reuben Riley Gonsalves, born

                       ; Niya Colleen Gonsalves, born                          ; and Wakanhdisa Misun

 Gonsalves, born                    . The latter three siblings are still rninors and live with me in

 myhouse at 2080 Kennedy Circle, Keizer, OR 97303.

        4.      In April, 2074, the above-entitled lawsuit was filed in the United States District

 Court, District of South Dakota, Northern Division. The lawsuit involves allegations of medical

 malpractice by Defendant Patrick J. Adams, M.D., along with negligence on the part of

 Defendant Medical Doctor Associates, L.L.C., in the placement and supervision of Patrick J.

 Adams, M.D., at the Vy'oodrow'Wilson Keeble Memorial Health Care Center in Sisseton, South

 Dakota. The Complaint details the specifics of the allegations made. A federal tort clairn was
                       'Wakanda
 made arising out of              O. Gonsalves' care, but the United States Govemment determined

 that Patrick J, Adams, M.D., was not an employee but was an independent contractor working at

 this clinic on a locum tenens placement. Defendants Patrick J. Adams, M,D., and Medical

 Doctor Associates, L.L.C. deny negligence     as   reflected in the Answer.

        5.      After discovery and designation of experts,       a mediation was undeftaken   with Lon

 Kouri on October 79,2075, as a result of which a settlement was reached (pending this Court's

 approval), in which Defendants Patrick J. Adams, M.D., and Medical Doctor Associates, L.L.C.,

 through their insurance company, The Medical Protective Company, agreed to pay the sum of

               together with full paynent of the rnediator's fees, in exchange for a full and final



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Case 1:14-cv-01006-CBK Document 23 Filed 12/21/15 Page 3 of 5 PageID #: 75




 settlement of the claims brought in this lawsuit and a dismissal of the lawsuit, with prejudice.           A

 copy of that Release of   All Claims is attached hereto and designated      as   Exhibit 2.

         6.      Lisa and Leon Gonsalves seek court approval of this settlement and a

 determination that this settlement is fair and reasonable.

         7.      We have been represented by Michael L. Luce of the law firm of Lynn, Jackson,

 Shultz & Lebrun, P.C., of Sioux Falls, South Dakota, in this matter. Our agreement as to legal

 fees and costs is that the attorney is to be paid legal fees   of 1/3 of the amount recovered, along

 with costs incurred and applicable sales tax. The legal fees on the recovery of                      (which

 does not include any credit for the    full mediation payment by Defendants Patrick           J. Adams,


 M.D., and Medical Doctor Associates, L.L.C.), is                , together with costs in the sum      of

              and sales tax in the amount of              for a total of                . The largest cost

 incurred was that for the expert services in the surn of                  Thus, the net recovery to the

 Estate of \Makanda O. Gonsalves is $

         8.      Lisa Gonsalves, as Personal Rcpresentative of the Estate of Wakanda O.

 Gonsalves, proposed distributing the net proceeds as follows:

         (a)     Angelo V/api Moreno:
         (b)     Dyarni Leon Gonsalves:
         (c)     Kinyanku Reuben Riley Gonsalvcs:
         (d)     Niya Colleen Gonsalves:
         (e)     Wakanhdisa Misun Gonsalves:

        The youngcst three siblings, Kinyanku Reuben Riley Gonsalves, Niya Colleen Gonsalves

 and Wakanhdisa Misun Gonsalves are minors, and those proceeds             will   be placed by Lisa

 Gonsalves in an interest-bearing account to be used for school needs or other applopriate uses

 until these children reach the age of majority.

         In addition,            will   be used for a non-profit, Wakanda Onawa Gonsalves




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Case 1:14-cv-01006-CBK Document 23 Filed 12/21/15 Page 4 of 5 PageID #: 76




 Memorial Scholarship Fund.

        The remaining balance of                    will   be used as a down paynTent for a house where

 the minor children can reside,

        Leon Gonsalves, as father, consents and approves of this distribution of these settlement

 proceeds.

        WHEREFORE, Lisa Gonsalves and Robert Leon Gonsalves pray for an Order of the

 Court granting this Petition for Approval of Settlement, as set forth in the Release of All Claims,

 together with approval of the distribution of the settlement proceeds, including attomey's fees,

 costs and sales tax, together with the distribution of settlement proceeds to the siblings and

 parents as set forth herein, together with such other relief as the court deems just and proper.

        Dated   this   l?   day of December, 2015.




                                                        sa Gonsalves, lndividually and as Mother and
                                                      Personal Representative of the Estate of
                                                      Wakanda Gonsalves

 STATE OF OREGON                           )
                                               SS
 COUNTY OF                   O t*'         )

        on this,   tne   /.ffiay of December, 2015 before me, the undersigned officer, personally
 appeared Lisa Gonsalveb, Individually and as Mother and Personal Representatìve of the Estate
 of Wakanda O. Gonsalves, known to me or satisfactorily proven to be the person whose name is
 subscribed to the within instrurnent, and acknowledged that she executed the same for the pur-
 poses therein contained,

        IN WITNESS V/HEREOF, I hereunto set my hand and official seal.


                                         KERN
                   ERIC
                                                      Notary Public, Oregon
                                   NO,
                                                      My Cornmission expires     s/øþtç
                                                     4
Case 1:14-cv-01006-CBK Document 23 Filed 12/21/15 Page 5 of 5 PageID #: 77




        Dated this   /1   dayofDecember, 2015,



                                                          Leon Gonsalves, Individually and as
                                                 Father

 STATE OF OREGON                  )
                                      SS
 COUNTY OF                2l.t/   )

         On this, æ Éaay of Decemb er,2ll|before me, the undersigned officer, personally
 appeared Robert Leon Gonsalves, Individually and as Father, known to me or satisfactorily
 proven to be the person whose n¿lme is subscribed to the within instrument, and acknowledged
 that he executed the same for the purposes therein contained.

        IN V/ITNESS WHEREOF, I hereunto set my hand and                 seal.




                                                 Notary Public, Oregon

                                  MARCH
                                                 My Commission expires:     -1?í        ,




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